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                                                              December 28, 2020

BY ECF
The Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

                   Re: United States v. Ng Lap Seng, 15-cr-706-3 (VSB)
        Second Letter in Further Support of Emergency Motion for Reconsideration

Dear Judge Broderick:

         Counsel for Defendant Ng Lap Seng submit this second letter in further support of his
Emergency Motion for Reconsideration (see ECF Nos. 974–75). Counsel has been informed that
Ng’s roommate tested positive for COVID-19 earlier today and that approximately half of the
inmates from their unit tested positive for the virus over the past two weeks. Although Mr. Ng
recently tested negative for COVID-19, the virus is running rampant throughout his unit and
facility. It could be just a short matter of time before Mr. Ng gets infected with COVID-19 (if he
has not already since he last received a test) and becomes seriously ill or dies from it. Mr. Ng fears
for his life, and prays that Your Honor grants him compassionate release.
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We again thank the Court for its courtesy in this matter.

                                                     Respectfully submitted,



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